 Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 1 of 27
                                      EXHIBIT                         CT Corporation
                                                       Service of Process Notification
                                                                      A                                          09/01/2022
                                                                                                    CT Log Number 542236729


Service of Process Transmittal Summary

TO:       Robin Johnson
          Shell USA, Inc.
          150 N DAIRY ASHFORD RD
          HOUSTON, TX 77079-1115

RE:       Process Served in Texas

FOR:      Shell Offshore Inc. (Domestic State: DE)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        Re: John Johnson // To: Shell Offshore Inc.

CASE #:                                 202248884

NATURE OF ACTION:                       Employee Litigation - Personal Injury

PROCESS SERVED ON:                      C T Corporation System, Dallas, TX

DATE/METHOD OF SERVICE:                 By Process Server on 09/01/2022 at 03:30

JURISDICTION SERVED:                    Texas

ACTION ITEMS:                           CT has retained the current log, Retain Date: 09/01/2022, Expected Purge Date:
                                        09/06/2022

                                        Telephone, Robin Johnson , -8323372831

                                        Image SOP

                                        Email Notification, Robin Johnson robin.l.johnson@shell.com

                                        Email Notification, Patricia Gunning patricia.gunning@shell.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        1999 Bryan Street
                                        Suite 900
                                        Dallas, TX 75201
                                        877-564-7529
                                        MajorAccountTeam2@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 1 of 1
                 Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 2 of 27


                                                                     0,Wolters Kluwer

                                PROCESS SERVER DELIVERY DETAILS



Date:                                             Thu, Sep 1, 2022
Server Name:                                      D'Ann Wathen




 Entity Served                     SHELL OFFSHORE INC.

 Case Number                       2022-48884

 J urisdiction                     TX



                                                    Inserts
             Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 3 of 27
                                                                                        DELIVERED sEP - 1
                                                 CAUSE NO. 202248884
                                                                                                          PP
COPY OF PLEADING PROVIDED BY MT


                                                      RECEIPT NO: 938346 TRACKING NO: 74043614
                                                        EML
Plaintiff:                                                              In The 269th
JOHNSON,JOHN                                                            Judicial District Court of
VS.                                                                     Harris County, Texas
Defendant:                                                              201 CAROLINE
NOBLE DRILLING(U S)LLC                                                  Houston, Texas
                                                CITATION CORPORATE
THE STATE OF TEXAS
County of Harris

To:   SHELL OFFSHORE INC(A DELAWARE CORPORATION)MAY BE SERVED WITH PROCESS BY
AND THROUGH ITS REGISTERED AGENT FOR SERVICE
CT COPRORATION SYSTEM
1999 BRYAN STREET SUITE 900,DALLAS TX 75201

        Attached is a copy of: PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

This instrument was filed on August 10, 2022 in the above cited cause number and court. The instrument attached describes
the claim against you.

        YOU HAVE BEEN SUED. You may employ an attorney. If you or your Attorney do not file a written answer with
the District Clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration date of 20 days after
you were served this citation and petition, a defaultjudgment may be taken against you. In addition to filing a written answer
with the clerk, you may be required to make initial disclosures to the other parties of this suit. These disclosures generally
must be made no later than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

        This citation was .issued on August 25, 2022, under my hand and seal of said court.


                                                                                   -filwit-
Issued at the request of:                                                          Marilyn Burgess, District Clerk
WOOD,COLIN GERALD ORION                                                           Harris County, Texas
909 TEXAS ST. SUITE 1801                                                          201 CAROLINE Houston Texas 77002
HOUSTON,TX 77002                                                                 (PO Box 4651, Houston, Texas 77210)
281-724-4164
Bar Number: 24082535
                                                                                  Generated By:PATRICIA JONES
            Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 4 of 27


                                                                                        DELIVERED SEP - 1 2022


                                                                              Tracking Number: 74043614
EML



                                                   CAUSE NUMBER: 202248884


PLAINTIFF: JOHNSON,JOHN                                                                In the 269th
      VS.                                                                              Judicial District Court of
DEFENDANT: NOBLE DRILLING(U S)LLC                                                      Harris County, Texas




                                       OFFICER - AUTHORIZED PERSON RETURN

Came to hand at           o'clock     . M. on the                day of                                   , 20      . Executed at

(Address)
 in

                          County at o'clock        . M. On the            day of                                    ,20         ,by

Delivering to                                                            defendant, in person, a true copy of this Citation
together with the accompanying             copy (ies) of the oAttachment». Petition attached thereto and I endorsed on said
copy of the Citation the date of delivery.

To certify which I affix my hand officially this                     day of                                               20.

Fees $

                                                                              By
                Affiant                                                                                   Deputy

On this day,                                                           , known to me to be the person whose signature
appears on the foregoing return, personally appeared. After being by me duly sworn, he/she stated that this citation was
executed by him/her in the exact manner recited on the return.

SWORN TO AND SUBSCRIBED BEFORE ME,On this                            day of                                               ,20 .



                                                                              Notary Public
      Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 5 of 27
                                                                                                         8/10/2022 1:45 PM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No.67149053
                             2022-48884 / Court: 269                                                      By: Patricia Jones
                                                                                                  Filed: 8/10/2022 1:45 PM

                                CAUSE NO.

 John Johnson                                                  IN THE DISTRICT COURT OF



 V.

 Noble Drilling (U.S.), LLC,                                   HARMS COUNTY,TEXAS
 Noble Drilling Services, Inc.,
 Noble Corporation, Noble Drilling
 Holding, LLC, Shell Oil Company,
 and Shell Offshore Inc.

          Defendants.                                                 JUDICIAL DISTRICT

          PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

          Plaintiff John Johnson files this Original Petition and Request for Disclosure complaining

 of Noble Drilling (U.S.), LLC, Noble Drilling Services, Inc., Noble Corporation, Noble Drilling

 Holding, LLC, Shell Oil Company, and Shell Offshore Inc. (collectively referred to as

"Defendants")and will respectfully show the Court as follows:


                                           I.   Jurisdiction

       1. This case is filed under the Jones Act(46 U.S.C. § 30104), as well as general maritime law

(28 U.S.C. § 1333). The Harris County District Courts have jurisdiction over this matter pursuant

 to the Saving to Suitors clause (28 U.S.C. § 1333(1)). Further, Plaintiff's damages exceed the

 minimum jurisdictional limits of this Court.

      2. This case is not removable to federal court under the Outer Continental Shelf Lands Act

("OCSLA"). Under prevailing 5th Circuit precedent, removal under OCSLA is only permissible

 where the vessel was"permanently or temporarily attached to the seabed [ofthe Outer Continental

 Shelf]      for the purposes of exploring for, developing, or producing resources therefrom." See

Barker v. Hercules Offshore, Inc., 713 F.3d 208, 213 (5th Cir. 2013), citing 43 U.S.C. § 1333.
  Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 6 of 27




Further, OCSLA expressly excludes "a ship or vessel" from its scope. 43 U.S.C. §

1333(a)(1)(A)(iv). Here, the vessel in question—the Noble Globetrotter 11 ("Globetrotter 11")—

was not "permanently or temporarily attached to the seabed [of the()CST Barker at 213. More

importantly, it is a vessel and therefore expressly excluded from the statute.


                                            IL    Venue

   3. Venue is proper pursuant to Tex. Civ. Prac. Rem. Code § 15.002(3) because one or more

Defendants have a principal place of business located in Harris County.


                                     Ill.    Discovery Level

   4. Discovery in this matter may be conducted under Level 2 of the Texas Rules of Civil

Procedure.


                                            IV.   Parties

   5. Plaintiff John Johnson is a Jones Act Seaman who resides in Lafayette, Louisiana. Mr.

Johnson was working aboard the Globetrotter II when the events giving rise to this petition took

place.

   6. Defendant Noble Drilling (U.S.) LLC is a domestic company with its principal place of

business in Sugar Land, Texas. It may be served with process by and through its registered agent

for service: CT CORPORATION SYSTEM, 1999 Bryan St., Ste. 900 Dallas, TX 75201

   7. Defendant Noble Drilling Services, Inc. is a domestic corporation with its principal place

ofbusiness in Sugar Land, Texas. It may be served with process by and through its registered agent

for service: CT CORPORATION SYSTEM, 1999 Bryan St., Ste. 900 Dallas, TX 75201.
   Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 7 of 27




    8. Defendant Noble Corporation is a domestic corporation with its principal place of business

in Sugar Land, Texas. It may be served with process by and through its registered agent for service:

CT CORPORATION SYSTEM, 1999 Bryan St., Ste. 900 Dallas, TX 75201.

   9. Defendant Noble Drilling Holding, LLC is a foreign corporation with significant ties to the

State of Texas. The Court may exercise personal jurisdiction over Defendant Noble Drilling

Holding,LLC because it does a substantial amount of business in Texas. Defendant Noble Drilling

Holding, LLC has systematic and continued contacts with Texas thatjustify the exercise ofgeneral

jurisdiction. Defendant Noble Drilling Holding, LLC is also subject to the specific jurisdiction of

this court because its contacts with Texas are directly related to the incident from which Plaintiffs

claims arise. This Defendant may be served with process by and through its registered agent for

service: The Corporation Trust Company, at 1209 Orange Street, Wilmington, DE 19801.

    10. Defendant Shell Oil Company is a Delaware company that has its principal place of

business and headquarters in Harris County. It may be served with process by and through its

registered agent for service: CT CORPORATION SYSTEM, 1999 Bryan St., Ste. 900 Dallas, TX

75201.

    1 1. Defendant Shell Offshore Inc. is a Delaware corporation that has its principal place of

business and headquarters in Harris County. It may be served with process by and through its

registered agent for service: CT CORPORATION SYSTEM, 1999 Bryan St., Ste. 900 Dallas, TX

75201.


                                             V.    Facts

    12. This suit arises out of grossly reckless conduct by Defendants leading up to and during

Hurricane Ida—one ofthe most powerful and damaging hurricanes to ever strike the United States.

Hurricane Ida formed in the Gulf of Mexico on or about August 26, 2021, and made landfall in
  Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 8 of 27




Port Fourchon, Louisiana on August 29, 2021. During this time, Plaintiff was working aboard the

Globetrotter II, a vessel owned, operated and/or maintained by Defendants. At all relevant times

Plaintiff was a Jones Act Seaman. Although Hurricane Ida made landfall on August 29, 2021,

warnings about the storm's gathering strength were issued days in advance. From the time it

became a tropical depression on August 26, 2021,the forecast narrowed in on the lower southeast

coast of Louisiana as the bullseye for landfall. As projected, Hurricane Ida made landfall in

southeast Louisiana near Port Fourchon with sustained winds of 150 miles per hour.

    13. At all material times, the Globetrotter II was working in the Gulf ofMexico for the benefit,

and at the direction of Defendants. In the days leading up to the incident, Hurricane Ida entered

the Gulf of Mexico taking aim at the southeast Louisiana shore. No human being should be in the

path of a hurricane as powerful as Hurricane Ida. Unfortunately for Plaintiff, neither Shell nor the

Noble Defendants cared about the risks posed to Plaintiff. On August 27, 2021, Plaintiff was

aboard the drillship Globetrotter II in the Gulf of Mexico. Despite the undeniable path of the

oncoming storm, Defendants ordered the Globetrotter II to continue working at the rig site past

the point where it could safely secure the rig and escape the storm.

    14. Finally, on August 27, 2021 —mere hours before the storm was open them—the

Globetrotter II unlatched and headed back to port. Defendants' chosen course took the

Globetrotter II within 10 miles of Hurricane Ida's eyewall. Plaintiff was exposed to 150 mile per

hour winds and 80-foot swells. On board,the ferocious sea tossed the crew around and threw them

into the floors and ceilings of the vessel. The Globetrotter II was swaying side-to-side so severely

that the crew was literally walking on the vessel's walls. The tilt was so extreme that the

Globetrotter // lost two of its eight thrusters and almost capsized as a result. Plaintiff, along with

many other crewmembers, believed they were going to die.
  Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 9 of 27




    15. As a direct result of Defendants' gross negligence and recklessness, Plaintiff sustained

bodily injuries and mental anguish. Specifically, Plaintiff suffered physical injuries from the

incident, including injuries to his neck, back, shoulders, head, and other parts of his body. Plaintiff

also suffered from severe emotional disturbance as a result of Defendants' actions including

anxiety, nightmares, night tremors, difficulty in focusing and concentration, sleep disturbance, and

more.


                   VI.     Cause of Action — Negligence & Negligence Per Se

    16. Defendants are negligent and negligent per se for the following reasons:

           a. Failure to properly supervise their crew;

           b. Failure to avoid obviously dangerous decisions that put the crew in peril;

           c. Failure to properly train their employees or contractors;

           d. Failure to provide adequate safety equipment;

           e. Failure to provide Plaintiff a safe working environment;

           f. Failure to provide Plaintiff adequate safety from storms and Hurricane;

           g. Failure to timely and effective evacuate the vessel;

           h. Failure to provide adequate medical treatment;

           i. Operating the vessel with an inadequate crew;

           j. Failing to maintain safe mechanisms for work on the vessel;

           k. Failure to maintain, inspect, and/or repair the vessel's equipment;

           1. Operating the vessel in an unsafe and improper manner;

           m. Failure to have the vessel moored in a safe area;

           n. Vicariously liable for their employees' and agents' negligence;
  Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 10 of 27




           o. Violating applicable Coast Guard, OSHA, BSEE rules and/or other applicable

               regulations; and

           p. Other acts deemed negligent.


                          VII.     Cause of Action — Unseaworthiness

    17. At all relevant times,the Globetrotter II was unseaworthy, which entitles Plaintiff to relief

under the doctrine of unseaworthiness and general maritime law.


                                    VIII.    Actual Damages

    18. As a result of said occurrences, Plaintiff sustained severe injuries to his body, which

resulted in physical pain, mental anguish, and other medical problems. Plaintiff has sustained

severe pain, physical impairment, discomfort, mental anguish, and distress. In all reasonable

probability, Plaintiff's physical pain, physical impairment, and mental anguish will continue

indefinitely. Plaintiff has also suffered a loss of earnings in the past, as well as a loss of future

earning capacity. Plaintiff has incurred and will incur pharmaceutical and medical expenses in

connection with his injuries. Plaintiff seeks punitive damages against Defendants for recklessly

ordered the Globetrotter II to continue working even as Hurricane Ida bore down on its location,

and for arbitrarily and improperly denying maintenance and cure. Plaintiff has been damaged in a

sum far in excess of the minimum jurisdictional limits of this Honorable Court, for which they

now sue.


                                    IX.     Punitive Damages

    19. Plaintiff is also entitled to punitive damages because the aforementioned actions of

Defendants were grossly negligent. Defendants acted with flagrant and malicious disregard of

Plaintiff's health and safety. Defendants were subjectively aware of the extreme risk posed by the
  Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 11 of 27




conditions which caused Plaintiffs injuries but did nothing to rectify them. Instead, Defendants

had Plaintiffand other crew members continue working despite the dangerous conditions that were

posed to them. Defendants did so knowing that the conditions posed dangerous and grave safety

concerns. Defendants' acts and omissions involved an extreme degree of risk considering the

probability and magnitude of potential harm to Plaintiff. Defendants had actual, subjective

awareness of the risk, and consciously disregarded such risk by allowing Plaintiff to work under

such dangerous conditions.


                                         X.      Jury Demand

    20. Plaintiff demands a trial by jury.


                                   XL     Request for Disclosures


    21. Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendants are requested to

disclose the information and material described in Rule 194.2 within fifty (50)days of the service

of this Plaintiffs Requests for Disclosure to Defendants.


                                             XII.   Prayer

        Pursuant to Rule 47 ofthe Texas Rules of Civil Procedure, Plaintiff seeks monetary relief

over $1,000,000. Additionally, Plaintiff prays that this citation issue and be served upon

Defendants in a form and manner prescribed by law, requiring that the Defendants appear and

answer, and that upon final hearing, Plaintiff has judgment against Defendants in a total sum in

excess of the minimum jurisdictional limits of this Court, plus pre-judgment and post-judgment

interests, all costs of Court, and all such other and further relief, to which Plaintiff shows himself

justly entitled, including but not limited to:
Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 12 of 27




    a) Past and future medical damages;

    b) Past and future loss of earning capacity;

    c) Past and future pain and suffering and mental anguish;

    d) Past and future impairment;

    e) Past and future disfigurement;

    f) Exemplary damages;

    g) Loss of household services;

    h) Past and future loss of consortium;

    )
    i Past and future maintenance and cure obligations;

    j) Pre-judgment interest;

    k) Post-judgment interest;

    )
    I Costs of Court;

    m)Attorney fees; and

    n) All other relief to which Plaintiff is justly entitled, either at law or in equity.


                                                            Respectfully submitted,

                                            JASON J. JOY & ASSOCIATES,P.L.L.C.

                                           /s/Colin G. Wood
                                           Colin G. Wood
                                           TXBN: 24082535
                                           909 Texas Street, Suite 1801
                                           Houston, TX 77002
                                           Office: (713)221-6500
                                           Direct:(281)724-4164
                                           Facsimile:(713)221-1717
                                           coli     setigyI;1 w,c9n1

                                            ATTORNEY FOR PLAINTIFF JOHN
                                            JOHNSON
           Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 13 of 27




                         Automated Certificate of eService
This automated certificate of service was created by the efiling system. The filer served this
document via email generated by the efiling system on the date and to the persons listed below.
The rules governing certificates of service have not changed. Filers must still provide a certificate
of service that complies with all applicable rules.

COLIN WOOD on behalf of Colin Wood
Bar No. 24082535
COLIN©JASONJOYLAW.COM
Envelope ID: 67149053
Status as of 8/10/2022 2:45 PM CST
Case Contacts
Name                BarNumber   Email                      TimestampSubmitted     Status
JASON JJOY                      JASON@JASONJOYLAW.COM      8/10/2022 1:45:40 PM   SENT
Colin JWood                     colin@jasonjoylaw.com      8/10/2022 1:45:40 PM   SENT
Kathleen O'Connor               Kathleen@jasonjoylaw.com   8/10/2022 1:45:40 PM   SENT
Alexandre Petit                 alex@jasonjoylaw.com       8/10/2022 1:45:40 PM   SENT
Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 14 of 27
                                                                     CT Corporation
                                                      Service of Process Notification
                                                                                                                 09/01/2022
                                                                                                    CT Log Number 542236719


Service of Process Transmittal Summary

TO:       Robin Johnson
          Shell USA, Inc.
          150 N DAIRY ASHFORD RD
          HOUSTON, TX 77079-1115

RE:       Process Served in Texas

FOR:      Shell Oil Company (Former Name) (Domestic State: DE)
          Shell USA, Inc. (True Name)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        Re: John Johnson // To: Shell USA, Inc.

CASE #:                                 202248884

NATURE OF ACTION:                       Employee Litigation - Personal Injury

PROCESS SERVED ON:                      C T Corporation System, Dallas, TX

DATE/METHOD OF SERVICE:                 By Process Server on 09/01/2022 at 03:30

JURISDICTION SERVED:                    Texas

ACTION ITEMS:                           CT has retained the current log, Retain Date: 09/01/2022, Expected Purge Date:
                                        09/06/2022

                                        Telephone, Robin Johnson , -8323372831

                                        Image SOP

                                        Email Notification, Robin Johnson robin.l.johnson@shell.com

                                        Email Notification, Patricia Gunning patricia.gunning@shell.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        1999 Bryan Street
                                        Suite 900
                                        Dallas, TX 75201
                                        877-564-7529
                                        MajorAccountTeam2@wolterskluwer.com



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and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
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contained therein.




                                                                                                                      Page 1 of 1
             Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 15 of 27


                                                                       Wolters Kluwer

                             PROCESS SERVER DELIVERY DETAILS



Date:                                          Thu, Sep 1, 2022
Server Name:                                   D'Ann Wathen




 Entity Served                 Shell Oil Company

 Case Number                   2022-48884

 J urisdiction                 TX



                                                   Inserts
      Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 16 of 27
                                                               DELIVERED SEP - I 2022

                                                       Receipt Number: 938346
                                                       Tracking Number: 74043613
EML
COPY OF PLEADING PROVIDED BY PLT


                               CAUSE NUMBER: 202248884


PLAINTIFF: JOHNSON, JOHN                                   in the 269th Judicial

vs.                                                        District Court of

DEFENDANT: NOBLE DRILLING (U S) LLC                        Harris County, Texas


                                      CITATION
THE STATE OF TEXAS
County of Harris

TO: SHELL OIL COMPANY (A DELAWARE COMPANY) MAY BE SERVED WITH PROCESS BY AND THROUGH

ITS REGISTERED AGENT FOR SERVICE

CT COPRORATION SYSTEM

1999 BRYAN STREET SUITE 900

DALLAS TX 75201


   Attached is a copy of PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE.

This instrument was filed on August 10, 2022, in the above numbered and styled cause
on the docket in the above Judicial District Court of Harris County, Texas, in the
courthouse in the City of Houston, Texas. The instrument attached describes the claim
against you.

   YOU HAVE BEEN SUED.   You may employ an attorney.  If you or your attorney do not
file a written answer with the District Clerk who issued this citation by 10:00 a.m.
on the Monday next following the expiration of twenty days after you were served this
citation and petition, a default judgment may be taken against you.    In addition to
filing a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit.   These disclosures generally must be
made no later than 30 days after you file your answer with the clerk.   Find out more
at TexasLawHelp.org.

   ISSUED AND GIVEN   UNDER MY HAND and seal of said Court, at Houston, Texas, this

August 25, 2022.




                                                 Marilyn Burgess, District Clerk
                                                 Harris County, Texas
                                                 201 Caroline, Houston, Texas 77002



                                                 Generated By: PATRICIA JONES

Issued at request of:
WOOD, COLIN GERALD ORION
909 TEXAS ST. SUITE 1801
HOUSTON, TX 77002
281-724-4164
Bar Number: 24082535
        Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 17 of 27
                                                                                           DELIVERED sEP - I AR




                                                                                    Tracking Number: 74043613
                                                                                                          EML



                                              CAUSE NUMBER: 202248884


PLAINTIFF: JOHNSON, JOHN                                                          In the 269th

       vs.                                                                        Judicial District Court

DEFENDANT: NOBLE DRILLING (U S) LLC                                               of Harris County, Texas




                                          OFFICER/AUTHORIZED PERSON RETURN
Came         to        hand      at           o'clock            .    M.,    on     the                day   of
                                                    , 20
Executed          at    (address)
in                          County
at                           o'clock                     M.,         on     the                    day       of
                                                                       , 20
by delivering to                                                                                   defendant,
in person, a true copy of this
Citation    together    with   the    accompanying              copy(ies)   of     the
                                          Petition
attached thereto and I endorsed on said copy of the Citation the date of delivery.
To      certify          which        I   affix    my    hand    officially        this            •   day   of
                                                        , 20

FEE:

                                                                                   of
County, Texas
                                                           By:
                       Affiant                                                   Deputy
On this day,                                                     , known to me to be
the person whose signature
appears on the foregoing return, personally appeared.  After being by me duly sworn,
he/she stated that this citation was executed by him/her in the exact manner recited
on the return.

SWORN             TO      AND         SUBSCRIBED      BEFORE         ME     on          this                 of
                                                   , 20


                                                                                   Notary Public
  Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 18 of 27
                                                                                                        8/10/2022 1:45 PM
                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 67149053
                           2022-48884 / Court: 269                                                       By: Patricia Jones
                                                                                                 Filed: 8/10/2022 1:45 PM

                               CAUSE NO.

 John Johnson                                                  IN THE DISTRICT COURT OF

         Plaintiff,

 V.

 Noble Drilling (U.S.), LLC,                                   HARRIS COUNTY,TEXAS
 Noble Drilling Services, Inc.,
 Noble Corporation, Noble Drilling
 Holding, LLC, Shell Oil Company,
 and Shell Offshore Inc.

         Defendants.                                                 JUDICIAL DISTRICT

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("OCSLA"). Under prevailing 5th Circuit precedent, removal under OCSLA is only permissible

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 Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 19 of 27




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1333(a)(1)(A)(iv). Here, the vessel in question—the Noble Globetrotter 11 ("Globetrotter 11")—

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                                     Ill.    Discovery Level

   4. Discovery in this matter may be conducted under Level 2 of the Texas Rules of Civil

Procedure.


                                            1V.   Parties

   5. Plaintiff John Johnson is a Jones Act Seaman who resides in Lafayette, Louisiana. Mr.

Johnson was working aboard the Globetrotter II when the events giving rise to this petition took

place.

   6. Defendant Noble Drilling (U.S.) LLC is a domestic company with its principal place of

business in Sugar Land, Texas. It may be served with process by and through its registered agent

for service: CT CORPORATION SYS1E,M, 1999 Bryan St., Ste. 900 Dallas, TX 75201.

   7. Defendant Noble Drilling Services, Inc. is a domestic corporation with its principal place

of business in Sugar Land, Texas. It may be served with process by and through its registered agent

for service: CT CORPORATION SYSTEM, 1999 Bryan St., Ste. 900 Dallas, TX 75201.
  Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 20 of 27




    8. Defendant Noble Corporation is a domestic corporation with its principal place of business

in Sugar Land, Texas. It may be served with process by and through its registered agent for service:

CT CORPORATION SYSTEM, 1999 Bryan St., Ste. 900 Dallas, TX 75201.

   9. Defendant Noble Drilling Holding, LLC is a foreign corporation with significant ties to the

State of Texas. The Court may exercise personal jurisdiction over Defendant Noble Drilling

Holding, LLC because it does a substantial amount of business in Texas. Defendant Noble Drilling

Holding, LLC has systematic and continued contacts with Texas thatjustify the exercise ofgeneral

jurisdiction. Defendant Noble Drilling Holding, LLC is also subject to the specific jurisdiction of

this court because its contacts with Texas are directly related to the incident from which Plaintiff's

claims arise. This Defendant may be served with process by and through its registered agent for

service: The Corporation Trust Company, at 1209 Orange Street, Wilmington,DE 19801.

    10. Defendant Shell Oil Company is a Delaware company that has its principal place of

business and headquarters in Harris County. It may be served with process by and through its

registered agent for service: CT CORPORATION SYSTEM, 1999 Bryan St., Ste. 900 Dallas, TX

75201.

    1 1. Defendant Shell Offshore Inc. is a Delaware corporation that has its principal place of

business and headquarters in Harris County. It may be served with process by and through its

registered agent for service: CT CORPORATION SYSTEM, 1999 Bryan St., Ste. 900 Dallas, TX

75201.


                                             V.    Facts

    12. This suit arises out of grossly reckless conduct by Defendants leading up to and during

Hurricane Ida—one ofthe most powerful and damaging hurricanes to ever strike the United States.

Hurricane Ida formed in the Gulf of Mexico on or about August 26, 2021, and made landfall in
  Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 21 of 27




Port Fourchon, Louisiana on August 29, 2021. During this time, Plaintiff was working aboard the

Globetrotter II, a vessel owned, operated and/or maintained by Defendants. At all relevant times

Plaintiff was a Jones Act Seaman. Although Hurricane Ida made landfall on August 29, 2021,

warnings about the storm's gathering strength were issued days in advance. From the time it

became a tropical depression on August 26, 2021,the forecast narrowed in on the lower southeast

coast of Louisiana as the bullseye for landfall. As projected, Hurricane Ida made landfall in

southeast Louisiana near Port Fourchon with sustained winds of 150 miles per hour.

    1 3. At all material times, the Globetrotter II was working in the Gulf ofMexico for the benefit,

and at the direction of Defendants. In the days leading up to the incident, Hurricane Ida entered

the Gulf of Mexico taking aim at the southeast Louisiana shore. No human being should be in the

path of a hurricane as powerful as Hurricane Ida. Unfortunately for Plaintiff, neither Shell nor the

Noble Defendants cared about the risks posed to Plaintiff. On August 27, 2021, Plaintiff was

aboard the drillship Globetrotter II in the Gulf of Mexico. Despite the undeniable path of the

oncoming storm, Defendants ordered the Globetrotter II to continue working at the rig site past

the point where it could safely secure the rig and escape the storm.

    14. Finally, on August 27, 2021 —mere hours before the storm was open them—the

Globetrotter H unlatched and headed back to port. Defendants' chosen course took the

Globetrotter II within 10 miles of Hurricane Ida's eyewall. Plaintiff was exposed to 150 mile per

hour winds and 80-foot swells. On board,the ferocious sea tossed the crew around and threw them

into the floors and ceilings ofthe vessel. The Globetrotter II was swaying side-to-side so severely

that the crew was literally walking on the vessel's walls. The tilt was so extreme that the

Globetrotter II lost two of its eight thrusters and almost capsized as a result. Plaintiff, along with

many other crewmembers, believed they were going to die.
 Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 22 of 27




    15. As a direct result of Defendants' gross negligence and recklessness, Plaintiff sustained

bodily injuries and mental anguish. Specifically, Plaintiff suffered physical injuries from the

incident, incfuding injuries to his neck, back, shoulders, head, and other parts of his body. Plaintiff

also suffered from severe emotional disturbance as a result of Defendants' actions including

anxiety, nightmares, night tremors, difficulty in focusing and concentration, sleep disturbance, and

more.


                   VI.     Cause of Action — Negligence & Negligence Per Se

    16. Defendants are negligent and negligent per se for the following reasons:

           a. Failure to properly supervise their crew;

           b. Failure to avoid obviously dangerous decisions that put the crew in peril;

           c. Failure to properly train their employees or contractors;

           d. Failure to provide adequate safety equipment;

           e. Failure to provide Plaintiff a safe working environment;

           f. Failure to provide Plaintiff adequate safety from storms and Hurricane;

           g. Failure to timely and effective evacuate the vessel;

           h. Failure to provide adequate medical treatment;

           i. Operating the vessel with an inadequate crew;

           j. Failing to maintain safe mechanisms for work on the vessel;

           k. Failure to maintain, inspect, and/or repair the vessel's equipment;

           I. Operating the vessel in an unsafe and improper manner;

           m. Failure to have the vessel moored in a safe area;

           n. Vicariously liable for their employees' and agents' negligence;
  Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 23 of 27




           o. Violating applicable Coast Guard, OSHA, BSEE rules and/or other applicable

               regulations; and

           p. Other acts deemed negligent.


                          VII.     Cause of Action — Unseaworthiness

    17. At all relevant limes,the Globetrotter II was unseaworthy, which entitles Plaintiff to relief

under the doctrine of unseaworthiness and general maritime law.


                                    VIII.    Actual Damages

    18. As a result of said occurrences, Plaintiff sustained severe injuries to his body, which

resulted in physical pain, mental anguish, and other medical problems. Plaintiff has sustained

severe pain, physical impairment, discomfort, mental anguish, and distress. In all reasonable

probability, Plaintiff's physical pain, physical impairment, and mental anguish will continue

indefinitely. Plaintiff has also suffered a loss of earnings in the past, as well as a loss of future

earning capacity. Plaintiff has incurred and will incur pharmaceutical and medical expenses in

connection with his injuries. Plaintiff seeks punitive damages against Defendants for recklessly

ordered the Globetrotter II to continue working even as Hurricane Ida bore down on its location,

and for arbitrarily and improperly denying maintenance and cure. Plaintiff has been damaged in a

sum far in excess of the minimum jurisdictional limits of this Honorable Court, for which they

now sue.


                                     IX.    Punitive Damages

    19. Plaintiff is also entitled to punitive damages because the aforementioned actions of

Defendants were grossly negligent. Defendants acted with flagrant and malicious disregard of

Plaintiff's health and safety. Defendants were subjectively aware of the extreme risk posed by the
  Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 24 of 27




conditions which caused Plaintiff's injuries but did nothing to rectify them. Instead, Defendants

had Plaintiffand other crew members continue working despite the dangerous conditions that were

posed to them. Defendants did so knowing that the conditions posed dangerous and grave safety

concerns. Defendants' acts and omissions involved an extreme degree of risk considering the

probability and magnitude of potential harm to Plaintiff. Defendants had actual, subjective

awareness of the risk, and consciously disregarded such risk by allowing Plaintiff to work under

such dangerous conditions.


                                         X.      Jury Demand

    20. Plaintiff demands a trial by jury.


                                   XI.    Request for Disclosures


    21. Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendants are requested to

disclose the information and material described in Rule 194.2 within fifty (50) days of the service

of this Plaintiff's Requests for Disclosure to Defendants.


                                             XII.   Prayer

        Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiff seeks monetary relief

over $1,000,000. Additionally, Plaintiff prays that this citation issue and be served upon

Defendants in a form and manner prescribed by law, requiring that the Defendants appear and

answer, and that upon final hearing, Plaintiff has judgment against Defendants in a total sum in

excess of the minimum jurisdictional limits of this Court, plus pre-judgment and post-judgment

interests, all costs of Court, and all such other and further relief, to which Plaintiff shows himself

justly entitled, including but not limited to:
Case 4:22-cv-03081 Document 1-1 Filed on 09/09/22 in TXSD Page 25 of 27




    a) Past and future medical damages;

    b) Past and future loss of earning capacity;

    c) Past and future pain and suffering and mental anguish;

    d) Past and future impairment;

    e) Past and future disfigurement;

    0 Exemplary damages;

    g) Loss of household services;

    h) Past and future loss of consortium;

    i) Past and future maintenance and cure obligations;

    j) Pre-judgment interest;

    k) Post-judgment interest;

    )
    I Costs of Court;

    m)Attorney fees; and

    n) All other relief to which Plaintiff is justly entitled, either at law or in equity.


                                                            Respectfully submitted,

                                            JASON J. JOY & ASSOCIATES,P.L.L.C.

                                           /s/ Colin G. Wood
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                                            ATTORNEY FOR PLAINTIFF JOHN
                                            JOHNSON
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Case Contacts
Name                BarNumber   Email                      TimestampSubmitted     Status
JASON JJOY                      JASON@JASONJOYLAW.COM      8/10/2022 1:45:40 PM   SENT
Colin JWood                     colin@jasonjoylaw.com      8/10/2022 1:45:40 PM   SENT
Kathleen O'Connor               Kathleen@jasonjoylaw.com   8/10/2022 1:45:40 PM   SENT
Alexandre Petit                 alex@jasonjoylaw.com       8/10/2022 1:45:40 PM   SENT
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ORDER NUMBER
2022.08.679812
DATE: Friday August 26, 2022
Court Record Research, Inc.
PO Box 3796
Houston, TX 77253-3796

FROM: David Gebhardt
PHONE: 800-552-3353 or 713-227-3353
EMAIL: update@courtrecords.com

ENTITY BEING SERVED: SHELL OFFSHORE,INC.(A DELAWARE COMPANY) BY SERVING ITS
REGISTERED AGENT, CT CORPORATION SYSTEM @ 1999 BRYAN STREET, SUITE 900, DALLAS, TX
75201.
CAUSE #: 2022-48884; COURT#: IN THE 269TH JUDICIAL DISTRICT COURT OF HARRIS
COUNTY, TEXAS
STYLE: JOHN JOHNSON vs. NOBLE DRILLING (U.S.), LLC, ET AL

MEMO
Attached you will find CITATION, PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR
DISCLOSURE for PERSONAL SERVICE. Once service has been executed, please EMAIL me with the
details (time, date, location of service) at: update@courtrecords.com

AFTER COMPLETION:
    Email completed Affidavit/Proof, NonServe or 106 Aff along with your
    invoice to update@courtrecords.com then forward to:
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    Houston, TX 77253

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